8:05-cr-00393-LSC-FG3          Doc # 147       Filed: 01/10/14   Page 1 of 1 - Page ID # 428




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   8:05CR393

       vs.
                                                                      ORDER
TINA SPEAKE,

                      Defendant.


Defendant Tina Speake appeared before the court on Friday, January 10, 2014 on a Petition for
Warrant or Summons for Offender Under Supervision [139]. The defendant was represented by
Assistant Federal Public Defender Richard H. McWilliams, and the United States was
represented by Assistant U.S. Attorney Kimberly C. Bunjer. The government did not request
detention therefore, the Defendant was not entitled to a preliminary examination. The defendant
was released on current terms and conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Chief Judge Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on March 6, 2014 at 11:00 a.m. Defendant must be present in person.
       2.     The defendant is released on current conditions of supervision.




       Dated this 10th day of January, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
